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12
                                   UNITED STATES DISTRICT COURT
13
                                  NORTHERN DISTRICT OF CALIFORNIA
14

15   WILBUR P.G. et al.; WILFREDO                   )   CASE NO. 4:22-cv-05183-KAW
     BALTAZAR P.E. a minor child; ERENDIRA          )
16   C.M.; YASMIN ALICIA M.C. a minor child;        )   JOINT NOTICE OF CONDITIONAL
     JOSHUA G. G.; and KARL LUIS G. G.,             )   SETTLEMENT AND STIPULATION TO STAY
17                                                  )   LITIGATION DEADLINES; [PROPOSED]
             Plaintiffs,                            )   ORDER
18                                                  )
        v.                                          )
19                                                  )
     UNITED STATES OF AMERICA,
20
             Defendant.
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     JOINT NOTICE OF CONDITIONAL SETTLEMENT
     4:21-CV-04457 KAW
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   LAWYERS’ COMMITTEE FOR CIVIL
 1 RIGHTS OF THE SAN FRANCISCO BAY AREA
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 7 OF NORTHERN CALIFORNIA
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11 Attorneys for Plaintiffs

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 1          The parties, by and through undersigned counsel, hereby notify the Court that the parties have

 2 reached a conditional settlement in this action under the Federal Tort Claims Act, 28 U.S.C. § 2671, et

 3 seq. and stipulate and request that all deadlines in the Court’s Order dated April 11, 2024 (Dkt. 197) be

 4 vacated and the action be stayed, based on the following:

 5 1.       The parties have reached a conditional settlement of all claims in this litigation, subject to

 6 finalizing and executing a formal settlement agreement and to obtaining the approval of the settlement

 7 of the minors’ claims by a court of competent jurisdiction, which may take some time, to be followed by

 8 the approval of the Attorney General of the United States or his designee.
 9 2.       Absent a stay pending finalization of the settlement, litigation burden and expense will be

10 incurred that are to be made unnecessary by the pending settlements.

11 3.       The parties stipulate to file a joint status report every 60 days during the stay to keep the Court

12 apprised of the progress of the pending settlement. It is anticipated that, once the settlement is

13 completed, the parties will file a stipulation for dismissal of all claims.

14          Therefore, in the interest of judicial economy and efficiency, and to preserve the benefit of the

15 pending settlement, the parties request that the Court enter the attached order vacating all deadlines in

16 the Court’s Order dated April 11, 2024 (Dkt. 197) and stay this action pending further stipulation or

17 motion of the parties or Order of the Court.

18
19 DATED: July 26, 2024                                      Respectfully submitted,
                                                               KEKER, VAN NEST & PETERS LLP
20

21
                                                       By:    Travis Silva
22                                                            BROOK DOOLEY
                                                              TRAVIS SILVA
23                                                            CHRISTOPHER S. SUN
                                                              CHRISTINA LEE
24                                                            JACQUELINE CONCILLA
                                                              SARA FITZPATRICK
25                                                            EVAN H. MCINTYRE

26                                                            Attorneys for Plaintiffs

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     JOINT NOTICE OF CONDITIONAL SETTLEMENT
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                                                     LAWYERS’ COMMITTEE FOR CIVIL
 1                                                   RIGHTS OF THE SAN FRANCISCO
                                                     BAY AREA
 2

 3
                                              By:    Jordan Wells
 4                                                   RACHEL SHERIDAN
                                                     JORDAN WELLS
 5                                                   VICTORIA PETTY

 6                                                   Attorneys for Plaintiffs

 7                                                   AMERICAN CIVIL LIBERTIES UNION
                                                     FOUNDATION OF NORTHERN
 8                                                   CALIFORNIA

 9
                                              By:    Bree Bernwanger
10                                                   BREE BERNWANGER
11                                                   Attorneys for Plaintiffs
12
     DATED: July 26, 2024                           Respectfully submitted,
13                                                    ISMAIL J. RAMSEY
                                                      UNITED STATES ATTORNEY
14

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                                              By:    Kenneth W. Brakebill
16                                                   KENNETH BRAKEBILL
                                                     KELSEY J. HELLAND
17                                                   Assistant United States Attorneys
                                                     Attorneys for Defendant
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 1                                               ATTESTATION

 2          Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, I attest that concurrence in the

 3 filing of this document has been obtained from the other signatories.

 4
     Dated: July 26, 2024
 5
                                                      By:   Kenneth W. Brakebill
 6                                                          KENNETH W. BRAKEBILL

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                                               [PROPOSED] ORDER
 1
            Pursuant to stipulation, IT IS SO ORDERED that because the parties have reached a conditional
 2
     settlement of all claims in this litigation, subject to finalizing and executing a formal settlement
 3
     agreement and the Court’s approval of the settlement of the minors’ claims,
 4
                1. All deadlines in the Court’s Order dated April 11, 2024 (Dkt. 197) are hereby vacated.
 5
                2. This action is stayed pending further stipulation or motion of the parties or Order of the
 6
                    Court.
 7
                3. The parties shall file a joint status report within sixty (60) days of the entry of this Order,
 8
                    and every sixty (60) days thereafter, in which they shall keep the Court apprised of the
 9
                    progress of the pending settlement.
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11
            IT IS SO ORDERED.
12
     DATED: ____________
13
                                                            HON. KANDIS A. WESTMORE
14                                                          United States Magistrate Judge
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     JOINT NOTICE OF CONDITIONAL SETTLEMENT
     4:21-CV-04457 KAW
